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James W. Cunningham
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(214) 827-9112

Trustee

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                           §
                                                 §
BIG RIG TANKER, LLC                              §           CASE NO. 16-33972-HDH-7
                                                 §
     DEBTOR                                      §


                                    TRUSTEE INTERIM REPORT

          A Trustee’s Final Report and Report of Proposed Distribution has been delivered to the

U.S. Trustee’s office on 10/16/2020 for review. The U.S. Trustee policy is to file the report

within 60 days of receipt.




                                                      RESPECTFULLY SUBMITTED,


                                                        /s/ James W. Cunningham
                                                      Chapter 7 Bankruptcy Trustee




TRUSTEE INTERIM REPORT
